Case 1:22-cv-00247-JLK Document 40 Filed 05/19/22 USDC Colorado Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Civil Action No. 22-cv-00247-SKC

GREG LOPEZ ,
RODNEY PELTON , and
STEVEN HOUSE ,
        Plaintiffs,

v.

JENA GRISWOLD , Colorado Secretary of State, in her official capacity, and
JUDD CHOATE , Director of Elections, Colorado Department of State, in his official
       capacity,

       Defendants.


                                 ENTRY OF APPEARANCE


To the clerk of court and all parties of record:

         I hereby certify that I am a member in good standing of the bar of this court, and I

appear in this case as counsel for:

     Greg Lopez                           ,

     Rodney Pelton                        ,

     Steven House                         .


         DATED at Denver, Colorado this 19th day of May, 2022.

                                                   Donald A. Daugherty, Jr.
                                                   INSTITUTE FOR FREE SPEECH
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Case 1:22-cv-00247-JLK Document 40 Filed 05/19/22 USDC Colorado Page 2 of 2




                              CERTIFICATE OF SERVICE

I hereby certify that on this _19th day of_May, 2022, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system which will send notification of such
filing to the following email addresses:

 mike.kotlarczyk@coag.gov
 peter.baumann@coag.gov                     ,
                                        ,


                                                s/Donald A. Daugherty, Jr.




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